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         Beginning on or about September 17, 2018, and continuing until on or about September

         10, 2019, I, Amanda Silva, admit that I knowingly and voluntarily conspired with other

         defendants to possess with intent to distribute and distribution of cocaine. I participated

         in the possession with intent to distribute and distribution of cocaine with others for

         mutual, monetary gain.

         In order to further the acts in the conspiracy, I used a telephone to communicate with

         indicted and unindicted co-conspirators. Specifically, in session 1182, over Padilla

         Phone 6, which occurred on March 17, 2019, I spoke about obtaining “another one,” and

         referred to it as a “white car.” I admit I was referring to an ounce of cocaine. I further

         admit that when discussing being at “37,” then providing “3,” “6,” and “400” plus “50 in

         5’s,” I was discussing my total debt of $3,700 for past cocaine that was provided on

         consignment, and my repayment of a portion of the debt by paying $300, $600, and

         “$450,” from my cocaine sales. These actions happened in both Bernalillo County and

         San Miguel County, New Mexico.

         7.       By signing this agreement, the Defendant admits that there is a factual basis for

each element of the crime(s) to which the Defendant is pleading guilty. The Defendant agrees

that the Court may rely on any of these facts, as well as facts in the presentence report, to

determine the Defendant’s sentence, including, but not limited to, the advisory guideline offense

level.

                                      RECOMMENDATIONS

         8.       Pursuant to Rule 11(c)(1)(B), the United States and the Defendant recommend as

follows:




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